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                    IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,

                    Plaintiff,

                       v.                    CRIM. 17-240 (FAB)

 HUMBERTO CONCEPCIÓN ANDRADES

                   Defendant.



                 EMERGENCY MOTION TO REDUCE SENTENCE

               AND/OR TO RELEASE DEFENDANT ON FURLOUGH



TO THE HONORABLE FRANCISCO A. BESOSA
UNITED STATES DISTRICT JUDGE
DISTRICT OF PUERTO RICO:


      COMES NOW Mr. Humberto Concepción Andrades, through counsel,

moves for an order reducing his sentence pursuant to 18 U.S.C. §§ 3582(c)(2)

and (c)(1)(A)(i) in light of the COVID-19 pandemic.    On Mrch 13, 2019, Mr.

Concepción entered a plea of guilty to violating 18 U.S.C. § 846: conspiracy to

possess with intent to distribute controlled substances.

      Prisoners with pre-existing medical conditions, like defendant, who has

sinusitis and severe congestion on account of it, render them more vulnerable to

be more severely impacted by infection of the coronavirus then those in excellent

health.                https://www.cdc.gov/coronavirus/2019-ncov/need-extra-


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precautions/people-at-higher-risk.html

In light of the COVID-19 emergency, this Court should grant Defendant’s motion
for a reduced sentence pursuant to 18 U.S.C. § 3582(c) or alternatively allow him
on furlough til the threat subsides

      Defendant is incarcerated at Bennettsville Correctional Facility run by the

BOP. There have already been three positive cases but no deaths.

      “COVID-19 is a serious disease” that makes certain persons severely ill

and can lead to death. Declaration of Chris Beyrer, MD, MPH, Professor of

Epidemiology, Johns Hopkins Bloomberg School of Public Health, ¶ 5 (Mar. 16,

2020), annexed as Exhibit C. The current best estimate is that the fatality rate

among all demographics “is 5-35 times the fatality associated with influenza

infection.” Id., Beyrer Dec. ¶ 5. Crowding, inadequate ventilation, and security

issues all contribute to the spread of infectious disease in jails and prisons.

Martin Kaste, Prisons and Jails Worry About Becoming Coronavirus ‘Incubators’,

NPR (Mar. 13, 2020), https://www.npr.org/2020/03/13/815002735/prisons-

and-jails-worry-about-becoming-coronavirus-incubators.      Hand sanitizer, an

effective disinfectant recommended by the CDC to reduce transmission rates, is

contraband in jails and prisons because of its alcohol content. Keri Blakinger &

Beth Schwarzapfel, How Can Prisons Contain Coronavirus When Purell is a

Contraband?, ABA Journal (Mar. 13, 2020). Medical care of prisoners is limited

at the best of times. https://oig.justice.gov/reports/2016/e1602.pdf (finding

that the BOP experienced chronic medical staff shortages and failed to take

adequate measures to address them, leading to problems meeting the medical

needs of prisoners, requiring the use of outside hospitals, and endangering the

safety and security of institutions); https://federaldefendersny.org/about-


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us/news/statement-from-federal-defendersof-new-york.html (same).

       In these circumstances, a reduced sentence is consistent with all of the §

3553(a) factors, including the COVID-19 pandemic, and is sufficient, but not

greater than necessary, to satisfy all the goals of sentencing. Defendant has

already served a significant period of incarceration for his conviction. Further,

the United States Attorney General has recently directed the Bureau of Prisons

“to prioritize the use of home confinement as a tool for combatting the dangers

that      COVID-19         poses       to       our     vulnerable       inmates.”

https://www.justice.gov/file/1262731/download.         If resentenced to a lower

sentence, Defendant would remain on supervision for his 60-month term of

supervised release. Stringent conditions could be imposed if necessary, such as

home detention, thereby minimizing any risk of danger to the public.




The Covid-19 emergency also provides “extraordinary and compelling reasons”
to reduce Defendant’s sentence under 18 U.S.C. § 3582(c)(1)(A)(i)

       For similar reasons, the Court should grant release under the

“compassionate release” statute, 18 U.S.C. § 3582(c)(1)(A)(i). The statute grants

sentencing courts authority to reduce an otherwise final term of imprisonment

for “extraordinary and compelling reasons.” 18 U.S.C. § 3582(c)(1)(A)(i).       The

statute provides:

       (1) in any case—

              (A) the court, upon motion of the Director of the Bureau of
       Prisons, or upon motion of the defendant after the defendant has fully
       exhausted all administrative rights to appeal a failure of the Bureau
       of Prisons to bring a motion on the defendant’s behalf or the lapse
       of 30 days from the receipt of such a request by the warden of the
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      defendant’s facility, whichever is earlier, may reduce the term of
      imprisonment (and may impose a term of probation or supervised
      release with or without conditions that does not exceed the unserved
      portion of the original term of imprisonment), after considering the
      factors set forth in section 3553(a) to the extent that they are
      applicable, if it finds that—

            (i)     extraordinary and compelling reasons warrant such a
      reduction; . . .
            *****
            and that such a reduction is consistent with applicable policy
            statements issued by the Sentencing Commission[.]

18 U.S.C. § 3582(c)(1)(A) (emphasis added).          Thus, the statutory

requirements for sentence reduction are that the court (1) find

extraordinary and compelling reasons for the reduction, (2) consider the

relevant sentencing factors under 18 U.S.C. § 3553(a), and (3) ensure any

reduction is consistent with applicable policy statements.

      Initially, the compassionate release statute previously permitted

sentence reductions only upon motion of the Director of the Bureau of

Prisons. But Congress expanded the statute in the First Step Act of 2018.

Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239 (Dec. 21, 2018). As

amended, § 3582(c)(1)(A)(i), now permits courts to consider motions filed

by the defendant so long as “the defendant has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring

a motion on the defendant’s behalf,” or after “the lapse of 30 days from the

receipt of such a request by the warden of the defendant’s facility,

whichever is earlier[.]” Accordingly, “while the First Step Act did preserve

the BOP’s role relative to a sentence reduction in certain limited respects,

it eliminated the BOP Director’s role as the exclusive channel through

which a sentence reduction could be considered by courts.” United States
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v. Redd, No. 1:97- CR-00006-AJT, 2020 WL 1248493, at *7 (E.D. Va. Mar.

16, 2020).

      Attached to this motion as Exhibit I, is a letter where it shows Mr.

Concepción has taken the administrative steps to obtain the requested relief and

it was denied.

      This Court should likewise excuse further exhaustion, because any delay

in consideration of this motion would put Defendant’s life in danger and risk

irreparable harm. See, Matter of Extradition of Toledo Manrique, No. 19-MJ-

71055, 2020 WL 1307109, at *1 (N.D. Cal. Mar. 19, 2020) (refusing to delay

consideration of release to await evidence of an outbreak in the jail because that

“may be too late”).

      The compassionate release statute does not expressly define or limit what

constitutes an “extraordinary and compelling” reason for a sentence reduction.

Black’s Law Dictionary, however, defines “extraordinary” as “[b]eyond what is

usual, customary, regular, or common,” BLACK’S LAW DICTIONARY (11th ed.

2019). Its definition of “compelling need,” is one “so great that irreparable harm

or injustice would result if [the relief] is not [granted].” Id. The present global

pandemic is a quintessential extraordinary circumstance beyond what most

Americans have experienced in their lifetimes.        Thus, the combination of

circumstances provides a compelling reason for Defendant’s immediate release

to a term of supervised release.

The Court has authority to find extraordinary and compelling reasons other than
those expressly identified in commentary to U.S.S.G. § 1B1.13

      In 28 U.S.C. § 994(t), Congress delegated to the Sentencing Commission

authority to “describe what should be considered extraordinary and compelling
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reasons for sentence reduction, including the criteria to be applied and a list of

specific examples.” The policy statement issued in exercise of that authority,

U.S.S.G. § 1B1.13, provides examples of “extraordinary and compelling reasons”

in the application notes. The examples generally fall into four categories based

on a defendant’s (1) terminal illness, (2) debilitating physical or mental health

condition, (3) advanced age and deteriorating health in combination with the

amount of time served, or (4) compelling family circumstances. U.S.S.G. §

1B1.13 comment. n.1(A)-(C). The commentary also includes a fifth catch-all

provision for “extraordinary and compelling reason other than, or in combination

with, the reasons described in subdivisions (A) through (C)” as determined by

the Director of the Bureau of Prisons. U.S.S.G. § 1B1.13, comment. n.1(D).

      However, the policy statement was last amended in November 2018, before

the First Step Act was passed, and it still requires a motion filed by the BOP.

For that reason, “a growing number of district courts have concluded the

Commission lacks” a policy statement applicable to the post-First Step Act

statute. United States v. Mondaca, No. 89-CR-0655 DMS, 2020 WL 1029024

(S.D. Cal. Mar. 3, 2020) (internal quotation marks omitted); see, also, United

States v. Brown, 411 F. Supp. 3d 446, 449-50 (S.D. Iowa 2019) (citing cases). In

United States v. Cantu, the Court explained:

      Given the changes to the statute, the policy-statement provision that
      was previously applicable to 18 U.S.C. § 3582(c)(1)(A) no longer fits
      with the statute and thus does not comply with the congressional
      mandate that the policy statement must provide guidance on the
      appropriate use of sentence-modification provisions under § 3582.

No. 1:05-CR-458-1, 2019 WL 2498923, at *4 (S.D. Tex. June 17, 2019)

(emphasis in original). Similarly, in Redd, the court noted that § 1B1.13 “by its


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terms applies only to motions for compassionate release filed by the BOP

Director, not motions filed by defendants.” 2020 WL 1248493, at *6. Therefore,

the court concluded, “there does not currently exist, for the purposes of

satisfying the First Step Act’s ‘consistency’ requirement, an ‘applicable policy

statement.’” Id.

      Even where courts have not deemed § 1B1.13 entirely inapplicable due to

the lack of amendment, they have held that judges have authority based on the

catch-all provision in Application Note 1(D) to find extraordinary and compelling

reasons other than those listed. See, e.g., United States v. Fox, No. 2:14-cr-03-

DBH, 2019 WL 3046086, *3 (D. Me. July 11, 2019) (stating that the existing

policy statement provides “helpful guidance,” but “is not ultimately conclusive

given the statutory change”). In Redd, the court explained that “Application Note

1(D)’s prefatory language, which requires a determination by the BOP Director,

is, in substance, part and parcel of the eliminated requirement that relief must

be sought by the BOP Director in the first instance.” 2020 WL 1248493, at *7

(citing cases); see also, United States v. Perez, No. 88-10094-1-JTM, 2020 WL

1180719, at *2 (D. Kan. Mar. 11, 2020) (“[A] majority of federal district courts

have found that the most natural reading of the amended § 3582(c) and § 994(t)

is that the district court assumes the same discretion as the BOP director when

it considers a compassionate release motion properly before it.” (internal

quotation marks omitted)).

      The government conceded this point in United States v. Young, agreeing

that “the dependence on the BOP to determine the existence of an extraordinary

and compelling reason, like the requirement for a motion by the BOP Director,


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is a relic of the prior procedure that is inconsistent with the amendments

implemented by the First Step Act.” No. 2:00-CR-00002-1, 2020 WL 1047815,

at *6 (M.D. Tenn. Mar. 4, 2020). The court in Young followed the majority of

district courts in recognizing that § 1B1.13’s defined categories are not exclusive:

“In short, federal judges are no longer constrained by the BOP Director’s

determination of what constitutes extraordinary and compelling reasons for a

sentence reduction.” Id. See also, United States v. O’Bryan, No. 96-10076-03-

JTM, 2020 WL 869475, at *2 (D. Kan. Feb. 21, 2020); United States v. Maumau,

No. 2:08-cr-00758-TC-11, 2020 WL 806121, at *2-3 (D. Utah Feb. 18, 2020) (“[A]

majority of district courts to consider the question have embraced Mr. Maumau’s

position” that limiting the catch-all provision to circumstances identified by the

BOP is inconsistent with the law) (citing ten other cases); Brown, 411 F. Supp.

3d at 451 (“[I]f the [First Step Act] is to increase the use of compassionate release,

the most natural reading of the amended § 3582(c) and § 994(t) is that the district

court assumes the same discretion as the BOP Director when it considers a

compassionate release motion properly before it. . . . Thus, the Director’s prior

interpretation of ‘extraordinary and compelling’ reasons is informative, but not

dispositive.” (internal quotation marks and citations omitted)); United States v.

Beck, No. 1:13- CR-186-6, 2019 WL 2716505, at *6 (M.D.N.C. June 28, 2019)

(“While the old policy statement provides helpful guidance, it does not constrain

the Court’s independent assessment of whether ‘extraordinary and compelling

reasons’ warrant a sentence reduction under § 3582(c)(1)(A)(i).”).

      Accordingly, this Court has authority to consider whether the worsening

global pandemic, combined with the other relevant circumstances in this case,


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present an extraordinary and compelling basis for a sentence reduction,

regardless of whether it falls within one of the existing categories in § 1B1.13

commentary. B. COVID-19 is an unprecedented and health emergency that

presents a serious risk to vulnerable prisoners. On March 11, 2020, the World

Health Organization officially classified the new strain of coronavirus which

causes COVID-19 as a pandemic. WHO Director General’s Opening Remarks at

the Media Briefing on COVID-19 – 11 March 2020, World Health Organization

(Mar.    11,   2020).   https://www.who.int/dg/speeches/detail/who-director-

general-s-opening-remarks-at-the-media-briefing-on-covid-19---11-march-

2020. COVID-19 has infected more than 1.4 million people worldwide, leading

to      more    than     73,000    deaths,      as   of      April   6,    2020.

https://coronavirus.jhu.edu/map.html.        All 50 states and the national

government have declared states of emergency. See Proclamation on Declaring a

National Emergency Concerning the Novel Coronavirus Disease (COVID-19)

Outbreak (Mar. 13, 2020), Kamran Rahman & Alice Miranda Ollstein, How

States Are Responding to Coronavirus, in 7 Maps, POLITICO (Mar. 24, 2020).

Additionally, more than half of the states and the District of Columbia have

imposed severe “lockdown” rules for their citizens.       Moreover, conditions of

imprisonment create the ideal environment for the transmission of contagious

diseases. Joseph A. Bick, Infection Control in Jails and Prisons, 45 CLINICAL

INFECTIOUS              DISEASES             1047,          1047          (2007),

https://academic.oup.com/cid/article/45/8/1047/344842.

“Incarcerated/detained persons live, work, eat, study, and recreate within

congregate environments, heightening the potential for COVID-19 to spread once


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introduced.” Centers for Disease Control and Prevention (CDC), Interim

Guidance on Management of Coronavirus Disease 2019 (COVID19) in

Correctional and Detention Facilities (Mar. 23, 2020). Because of these dangers,

the public health community is insistent on the critical need to rapidly reduce

our prison populations, both for the health of our inmates and the health of the

community as a whole:

      It is . . . an urgent priority in this time of national public health
      emergency to reduce the number of persons in detention as quickly
      as possible . . . Releasing as many inmates as possible is important
      to protect the health of inmates, the health of correctional facility
      staff, the health of health care workers at jails and other detention
      facilities, and the health of the community as a whole.

Exh. A, Beyrer Decl., ¶¶ 17, 19.

      As a Bureau of Prisons inmate, it is impossible for Mr. Concepción to be

fully protected. Exhibit II, is a report from OSHA, that establishes that the

ventilation and air conditioning system at Bennettsville recycles the air from cell

to cell, increasing the risk of contagion even taking the CDC precautions into

consideration. This risk of serious illness or death from the unprecedented global

pandemic, together with all of the other relevant factors in this case, presents an

extraordinary and compelling basis for sentence reduction.

Courts responding to the Coronavirus pandemic have recognized the critical
importance of reducing incarcerated populations

      The Court response to COVID-19 reflects the extreme exigency of the

present circumstances.     In United States v. Copeland, the court granted a

sentence reduction to time served under another portion of the First Step Act to

a defendant serving a life sentence for a drug trafficking conspiracy and firearm

possession. No. 2:05-cr-00135-DCN (D. S.C. Mar. 24, 2020) (ECF No. 662). The


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court recognized that the defendant’s “tenuous health condition” put him at

“even higher risk for severe illness and possible death” from the COVID-19

pandemic. Id. at 7. The court considered letters from members of Congress as

evidence of its “desire for courts to ‘use all available powers and authorities . . .

to reduce the number of federal prisoners in . . . prisons,’” especially for elderly

and sick individuals and those within the last 36 months of their sentences who

are appropriate for placement in home confinement. Id. (quoting Letter of House

Judiciary Committee, Mar. 19, 2020).

      A sampling of the court orders granting release based on the pandemic

fails to convey the full volume of building precedent. See, e.g., United States v.

Harris, No. 19-cr-00356-RDM (D.D.C. Mar. 26, 2020), ECF No. 35 (“The Court is

convinced that incarcerating Defendant while the current COVID-19 crisis

continues to expand poses a far greater risk to community safety than the risk

posed by Defendant’s release to home confinement on . . . strict conditions.”);

United States v. Perez, No. 19 CR. 297 (PAE), 2020 WL 1329225, at *1 (S.D.N.Y.

Mar. 19, 2020) (releasing defendant due to the “heightened risk of dangerous

complications should [h]e contract COVID-19”); United States v. Stephens, No.

15- cr-95 (AJN), 2020 WL 1295155, at *2 (S.D.N.Y. Mar. 19, 2020) (releasing

defendant in light of “the unprecedented and extraordinarily dangerous nature

of the COVID-19 pandemic”).

      When extraordinary and compelling reasons are established, the Court

must consider the relevant sentencing factors in § 3553(a) to determine whether

a sentence reduction is warranted. 18 U.S.C. § 3582(c)(1)(A)(i). Under all of the

circumstances in this case, the Court should conclude that the time that


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Defendant has already served is sufficient to satisfy the purposes of sentencing.

Here, the overriding factor under § 3553(a) that was not present at the time of

sentencing, namely the COVID-19 pandemic and the serious risk it presents.

The sentencing purpose of just punishment does not warrant a sentence that

includes exposure to a life-threatening illness. Cf., Helling v. McKinney, 509 U.S.

25, 28 (1993) (holding the Eighth Amendment’s prohibition on cruel and unusual

punishment includes unreasonable exposure to dangerous conditions in

custody); see also, Wallis v. Baldwin, 70 F.3d 1074, 1076 (9th Cir. 1995)

(applying Helling to exposure to asbestos); Brown v. Mitchell, 327 F. Supp. 2d

615, 650 (E.D. Va. July 28, 2004) (applying Helling to contagious diseases

caused by overcrowding conditions). The § 3553(a) factors can be met in this

case by an order of home confinement as a condition of supervised release.

      The totality of the circumstances demonstrates that reducing Defendant’s

sentence after he has already served a lengthy period of imprisonment, is

“sufficient, but not greater than necessary,” to serve the purposes of sentencing

under § 3553(a).    As noted above, Defendant is willing to endure whatever

stringent conditions the court deems appropriate, including home confinement

if necessary. Furthermore, if the court is not convinced that a reduction is

warranted a furlough may be granted until the health threat subsides.

If this Court should require it, defendant can make bond

      Mr. Concepción’s wife and his brother are duly employed and willing to

install a line for electronic monitoring device or any other guarantee the court

may deem necessary when evaluating early release or furlough.




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                                     Conclusion

      For these reasons, the Court should reduce defendant Mr. Humberto

Concepción’s sentence under 18 U.S.C. §§ 3582(c)(2) and (c)(1)(A)(i). The Court

should also grant Defendant’s release to his residence pending final disposition

of this motion or in the alternative grant him furlough until it is safe to finish

serving his sentence.

      Certificate of Service: We hereby notify that an exact copy of this motion

has been served to all parties simultaneously through the CM/ECF system of

the District Court of Puerto Rico.




                              s/ Jennie M. Espada
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